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      EXHIBIT 107
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                       From: SDM Exec Updates
                     Subject: Fwd: WW Sales Flash Week 5 Q1 FY19 includes Watch and Apple TV
                Received(Date): Mon, 05 Nov 2018 18:04:28 -0800
                          Cc: Saori Casey                      , Kevan Parekh
                                                     ,Sabih Khan                ,SDM Exec Updates

                         To: Tim Cook                       , Jeff Williams                    ,Luca
                              Maestri
                  Attachment: PastedGraphic-5.png
                  Attachment: PastedGraphic-4.png
                  Attachment: PastedGraphic-11.png
                  Attachment: Judged Weekly Sales Flash.pdf
                        Date: Mon, 05 Nov 2018 18:04:28 -0800

               Tim, Jeff, Luca,

               Attached are the week 5 Flash ST results and Q1 Total Summary.

               iPhone was on plan, iPad (+14%) and Mac (+11%) overachieved, and Watch (-2%)
               slightly missed plan. The beats on iPad and Mac are pull in of ST from future weeks (ST
               adjustments, early GC promos, and NPI shipments SI=ST).

               No changes to Q1 Total Summary.

               Regards,
               Thomas

               Summary (ex Edu/ Refurb):

               - iPhone UB were 4.564M, +19k to plan. Sustaining overachieved by 123k (China 11/11
               run-up), partially offset by softer Korea XR launch (-90k).
                   - iPhone XR 1105k, -96k vs plan, driven by Korea launch demand -90k vs plan (-
               80% L/L). WW Reseller velocity was 22% vs 36% iP8/8+ LY.
                   - iPhone XS & XS Max UB were 1567k, -10k vs plan (-30k iPXS Max, +21k iPXS).
               Korea launch demand overachieved by 60k (+70% L/L). Ex-Korea missed by 70k (US -
               17k, GC -19k, small misses across other regions).
                   - Sustaining UB were 1892k, +123k vs plan. Biggest drivers were China +91k in the
               lead up to 11/11 (D2x 69k, iP6s+ 10k, iP6 7k) and US iP8+ 20k.

               - iPad ST was 785k, +98k to plan.
                   - iPad 6th gen 46k beat was driven by AMR deals timing, early GC Singles Day
               promos, and ST adjustments.
                   - iPad Mini 4 25k beat was driven by DG promo performance in AMR/GC and ST
               adjustments.




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                      - NPI shipments to AOS customers (+30k) drove earlier than expected ST.
                      - No changes to the quarter plan are expected this week.

               - Mac ST was 279k, +24k to plan, driven by demand pull-in from future weeks in US, GC
               Resellers and Direct.
                  +16k across most sustaining products driven by pre-11/11 (Single's Day) promo in
               GC Resellers and channel loading in US Resellers.
                  + 9k driven by NPI (+5k J140 and +4k J174), a pull in from this week.

                  Mac Products monitored for cannibalization due to J140 launch
                       - MBAir J113B beat plan +10k, -22% y/y vs QTG y/y of -61%. We will monitor
               demand as J140 begins landing.
                       - MB Pro w/o TB J130A missed plan -5k, -12% y/y vs QTG y/y of 6%. We will
               monitor demand as J140 begins landing.
                       - MB J122 beat plan by 2k.

               - Watch ST was 437k, -7k to plan, driven by S4 AOS shipment timing, partially offset by
               higher ACV ST adjustments on Series 3 (+24k).
                   - Series 4 ST was 306k, -32k to plan, driven AOS shipment timing and is not a
               demand statement.
                   - Series 3 ST was 132k, +24k to plan, driven by higher ST adjustments actuals vs
               forecast and is not a demand trend.

               - AirPods ST was 673k, +90k to plan, driven by Resellers across PAC and EMEA.
               Billings were 693k. Reseller EOH is 1698k or ~3.2WOS (@526/wk L4W actual Reseller
               ST). Across all channels, L4W ST average is 633k/wk.

               - HomePod ST was 8k, -6k to plan, driven primarily by lower than expected launch lift for
               Spain & Mexico. This maybe a timing issue with only 2 days of sales last week, so we’ll
               continue to monitor through this week.

               Begin forwarded message:

               From: Sales Exec Updates
               <mailto:
               Subject: WW Sales Flash Week 5 Q1 FY19 includes Watch and Apple TV
               Date: November 5, 2018 at 12:36:58 PM PST
               To:
               <mailto:
               Cc: tu Rash                   <mailto

               — APPLE CONFIDENTIAL —

               Data extracted at 12:00 PM PST

               Attached is the WW Flash report. Please note the following:
               - The Forecast shows WW Sales Judged Forecast




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               WWSF




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               Date: November 5, 2018 at 12:36:58 PM PST

               To:




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